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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
      v.                             ) Crim. Action No. 17-0201-02 (ABJ)
                                    )
RICHARD W. GATES III,               )
                                    )
                  Defendant.        )
                                    )
____________________________________)

                                               ORDER

        Pending before the Court is defendant Richard W. Gates III’s Unopposed Motion to

Modify Conditions of Release [Dkt. # 444]. On March 14, 2018, the Court denied a similar motion

that was lodged shortly after the defendant’s plea, but it did so without prejudice to a future request.

Order [Dkt. # 234]. The Court now has the benefit of additional information, including defendant’s

record of ongoing cooperation with the government, his testimony at the trial in the Eastern District

of Virginia under difficult circumstances, as well as his compliance with all of the travel conditions

to date. In light of all of those circumstances, and in consideration of the matters set forth in all of

the previous bond motions, the financial conditions imposed in previous orders, and the

government’s consent, the motion will be granted, and the conditions of defendant’s release will

be modified to eliminate the curfew and the requirement of GPS monitoring. The defendant must

continue to reside at his current address, he must report to Pretrial Services once a week, he must

submit to monthly inspections of his home, and he must call Pretrial Services once a week (on a

different day than he reports on a schedule to be established by Pretrial Services) from his home

telephone landline. He may travel within the Eastern District of Virginia and to and from
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Washington, D.C. without Court permission, but he must continue to notify Pretrial Services in

advance, and he must seek permission from the Court to travel anywhere else.

       SO ORDERED.




                                           AMY BERMAN JACKSON
                                           United States District Judge

DATE: October 15, 2018




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